Case: 2:21-cv-00102-DLB-CJS Doc #: 96-1 Filed: 05/29/24 Page: 1 of 21 - Page ID#:
                                     807
Case: 2:21-cv-00102-DLB-CJS Doc #: 96-1 Filed: 05/29/24 Page: 2 of 21 - Page ID#:
                                     808
Case: 2:21-cv-00102-DLB-CJS Doc #: 96-1 Filed: 05/29/24 Page: 3 of 21 - Page ID#:
                                     809
Case: 2:21-cv-00102-DLB-CJS Doc #: 96-1 Filed: 05/29/24 Page: 4 of 21 - Page ID#:
                                     810
Case: 2:21-cv-00102-DLB-CJS Doc #: 96-1 Filed: 05/29/24 Page: 5 of 21 - Page ID#:
                                     811
Case: 2:21-cv-00102-DLB-CJS Doc #: 96-1 Filed: 05/29/24 Page: 6 of 21 - Page ID#:
                                     812
Case: 2:21-cv-00102-DLB-CJS Doc #: 96-1 Filed: 05/29/24 Page: 7 of 21 - Page ID#:
                                     813
Case: 2:21-cv-00102-DLB-CJS Doc #: 96-1 Filed: 05/29/24 Page: 8 of 21 - Page ID#:
                                     814
Case: 2:21-cv-00102-DLB-CJS Doc #: 96-1 Filed: 05/29/24 Page: 9 of 21 - Page ID#:
                                     815
Case: 2:21-cv-00102-DLB-CJS Doc #: 96-1 Filed: 05/29/24 Page: 10 of 21 - Page ID#:
                                      816
Case: 2:21-cv-00102-DLB-CJS Doc #: 96-1 Filed: 05/29/24 Page: 11 of 21 - Page ID#:
                                      817




January 27, 2022


U.S. Marshals Service                              Sent by Certified Mail & Email
Office of General Counsel
Attn: OGC Torts Team
Building CG-3, 15th floor
Washington, D.C. 20530-0001
USMSTORTClaims@usdoj.gov

        RE:   SF-95 Claim Form Submission – Raymund Laible
                                            Gayle Laible


To the USMS Office of General Counsel:

Please find enclosed the SF-95 forms related to the claims for damage, injury, and/or death
of Raymund and Gayle Laible along with additional requested documentation, including:

    •   Raymund Laible Death Certificate
    •   Raymund Laible Death Certificate Receipt
    •   Gayle Laible Death Certificate
    •   Gayle Laible Death Certificate Receipt
    •   Don Catchen Funeral Home Transportation of Gayle Laible
    •   Executive Transportation Funeral Car Service for Family Receipt
    •   Celebration of Life for Ray and Gayle Laible – Leapin Lizard Receipt
    •   Itemized receipts from Koop Diamond Cutters

Jason Laible was appointed administrator of the estates of Raymond and Gail Laible by the
Campbell County, KY District Probate Court. The probate court appointments of Jason
Laible as executor of the estates are enclosed. Jason Laible, as administrator of the estates
of Raymund and Gayle Laible, is represented by Friedman, Gilbert + Gerhardstein. A
signed statement of the firm’s authority as legal representative is also enclosed.

Please confirm receipt of this document.

Very truly yours,




Rebecca Salley
Case: 2:21-cv-00102-DLB-CJS Doc #: 96-1 Filed: 05/29/24 Page: 12 of 21 - Page ID#:
                                      818
                                                                                2




rebecca@FGGfirm.com
Counsel for the Estates of Raymund and Gayle Laible


Cc: Jacqueline Greene, Counsel for the Estates of Raymund and Gayle Laible
Case: 2:21-cv-00102-DLB-CJS Doc #: 96-1 Filed: 05/29/24 Page: 13 of 21 - Page ID#:
                                      819
Case: 2:21-cv-00102-DLB-CJS Doc #: 96-1 Filed: 05/29/24 Page: 14 of 21 - Page ID#:
                                      820
Case: 2:21-cv-00102-DLB-CJS Doc #: 96-1 Filed: 05/29/24 Page: 15 of 21 - Page ID#:
                                      821
Case: 2:21-cv-00102-DLB-CJS Doc #: 96-1 Filed: 05/29/24 Page: 16 of 21 - Page ID#:
                                      822
Case: 2:21-cv-00102-DLB-CJS Doc #: 96-1 Filed: 05/29/24 Page: 17 of 21 - Page ID#:
                                      823



                       CLAIMS OF RAYMUND LAIBLE AND GAYLE LAIBLE
                                  Date of Injury: August 7, 2020


                                  Supplemental Pages to SF-95


8. Basis of Claim:
Claimants file this Notice of Claim as an alternative argument to their claims asserted directly
against the City of Cincinnati and against the Cincinnati police officers and supervisors
discussed below and in the attached Complaint, filed in Laible, et al. v. Lanter, et al., Campbell
County, Kentucky Circuit Court No. 21-CI-595, removed to federal court in Laible, et al. v.
Lanter, et al., USDC E.D. K.Y. No. 2:21-cv-102.
Claimants assert and believe that these Cincinnati police officers were acting as Cincinnati police
officers and not as federal agents during the events in question. However, should the federal
government determine that these officers were acting as federal agents, Claimants allege as
follows:
The complaint filed in Laible, et al. v. Lanter, et al., Campbell County, Kentucky Circuit Court
No. 21-CI-595, removed to federal court in Laible, et al. v. Lanter, et al., USDC E.D. K.Y. No.
2:21-cv-102 is attached and hereby incorporated.
On August 7, 2020, Cincinnati Police Department (“CPD”) Sergeant Timothy Lanter and
Cincinnati Police Officer Brett Thomas engaged in the high-speed pursuit of Mason Meyer, who
was under investigation by the Cincinnati Police Department, other local law enforcement
agencies, and the Bureau of Alcohol, Tobacco, Firearms, and Explosives (“ATF”) for activities
relating to drugs and firearms.
CPD officers Lanter and Thomas, in marked CPD cruisers and in CPD uniforms, and as part of
the CPD Gang and Canine Units, respectively, initiated and engaged in the vehicle pursuit.
Cincinnati Police Sergeant Donald Scalf acted as Officer-In-Charge (“OIC”) for the pursuit.
CPD officers Lanter, Thomas, and Scalf were employees of CPD at all times relevant to
Raymund and Gayle Laible’s claims. Nonetheless, Lanter, Thomas, and Scalf and their legal
counsel have argued in Laible, et al. v. Lanter, et al., USDC E.D. K.Y. No. 2:21-cv-102 that they
were federal officers or acting at the direction of federal officers at all times relevant to Raymund
and Gayle Laible’s claims.
At approximately 4:26 p.m., Lanter, in his CPD uniform and CPD cruiser, began to tail Meyer’s
vehicle in the Price Hill neighborhood of Cincinnati, Ohio. When Lanter attempted to pull Meyer
over, activating his lights and sirens, Meyer accelerated and began to flee. Lanter radioed that he
was initiating pursuit and took the role of primary unit in the pursuit. As his supervisor, Scalf
became Cincinnati Police OIC, according to CPD policy 12.535(D)(3)(a). The CPD OIC is


                                             Page 1 of 5
Case: 2:21-cv-00102-DLB-CJS Doc #: 96-1 Filed: 05/29/24 Page: 18 of 21 - Page ID#:
                                      824



responsible for continually monitoring and controlling the pursuit, including authorizing and
reassigning units and terminating the pursuit, pursuant to CPD Policy 12.535(D)(4)(a).
CPD Officer Lanter authorized the participation of more units, including CPD Canine Officer
Thomas. CPD determined that this was in violation of CPD Policy 12.535(D)(5)(a), which
required the authorization of additional units to be made by the OIC.
Meyer sped through Cincinnati, running stop signs, disrupting traffic, and colliding with vehicles
and CPD Officer Lanter sped after him, without slowing or stopping. Thomas joined the pursuit
as backup, and CPD officers Lanter and Thomas drove at dangerously high speeds, well in
excess of posted speed limits, and sped through multiple stop signs without pause, without due
regard for the safety of the public, as they pursued Meyer.
The pursuit moved onto the interstate, with multiple cars forced to swerve out of the way as
Meyer and CPD Officer Lanter wove between vehicles at rush hour. CPD officers Lanter and
Thomas both operated their vehicles at speeds over 100 miles per hour. Despite being required
by CPD policy to report information regarding the pursuit to the Emergency Communications
Center (“ECC”), including the speeds involved, CPD officers Lanter and Thomas did not notify
the ECC of their speeds and again violated CPD policy.
Meyer sideswiped a vehicle traveling on the interstate, causing a collision in full view of CPD
Officer Lanter, but CPD officers Lanter and Thomas continued the pursuit despite the obvious
risks to the public. Neither Lanter nor Thomas notified ECC of the accident.
The pursuit moved off the interstate and continued through downtown Cincinnati, in a mixed use
residential and commercial area called The Banks, where parks, a children’s carousel, sports
stadiums, and walkable bridges draw thousands of pedestrians and tourists. Meyer’s tires were
visibly smoking as he drove through The Banks. CPD officers Lanter and Thomas still did not
notify the ECC of the conditions of the pursuit nor terminate the pursuit despite the obvious risks
to the public.
During the pursuit, CPD Officer Lanter asked CPD Officer Scalf for permission to follow Meyer
into Kentucky if Meyer crossed state lines, and Scalf gave Lanter and Thomas authorization to
do so.
When Meyer crossed from Ohio into Kentucky, CPD officers Lanter and Thomas followed,
continuing to operate their vehicles at high speeds and crossing the center lane into oncoming
traffic. CPD Policy 12.535 bars officers from pursuing vehicles the wrong way on divided
highways or on one-way streets without authorization from the OIC. Lanter and Thomas sped
after Meyer on multiple one-way streets in the wrong direction without authorization, in
violation of CPD policy, and Lanter gave authorization for the units to pursue Meyer down one-
way streets in the wrong direction, despite not having authority to do so. Lanter and Thomas
followed Meyer across the bridge connecting Covington and Newport, Kentucky, continuing to
operate their vehicles at high speeds and again traveling into the wrong lane and against
oncoming traffic, causing a motorcyclist to swerve and nearly topple over to avoid Meyer and
Lanter’s vehicles.

                                            Page 2 of 5
Case: 2:21-cv-00102-DLB-CJS Doc #: 96-1 Filed: 05/29/24 Page: 19 of 21 - Page ID#:
                                      825



The pursuit continued into and through downtown Newport, Kentucky where Raymund and
Gayle Laible were dining in the sidewalk patio of a café and Steven and Maribeth Klein were
walking down the sidewalk.
CPD Sergeant Scalf failed to maintain control of the pursuit, failed to inquire about the
conditions of the pursuit, and failed to terminate the pursuit despite the obvious danger to the
officers, the suspect, and the public, which clearly outweighed any need to apprehend Meyer.
CPD officers Lanter and Thomas also continued their pursuit despite the obvious danger to the
public, officers, and the suspect due to the conditions of the pursuit, which clearly outweighed
any need to apprehend Meyer.
Meyer, still pursued by CPD officers Lanter and Thomas at high speed, ran a red light, jumping
the curb and crashing into a sidewalk café patio. Meyer’s vehicle struck Raymund and Gayle
Laible causing their deaths. The impact and debris of the collision struck Steven and Maribeth
Klein, throwing them into the concrete and causing severe injuries.
CPD officers Lanter and Thomas operated their vehicles negligently, recklessly, grossly
negligently, in violation of CPD policy and with a complete disregard for the value of human life
and an awareness that their conduct was likely to cause death or serious injury to others.
Likewise, CPD Sergeant Scalf failed to adequately oversee the pursuit, despite his responsibility
to do so, and his actions were negligent, reckless, grossly negligent, in violation of CPD policy
and with a complete disregard for the value of human life and an awareness that his conduct was
likely to cause death or serious injury to others. CPD officers Lanter and Thomas, and Sergeant
Scalf all failed to end the pursuit despite the obvious danger to the public in continuing the
pursuit.
CPD’s Internal Investigations Section (“IIS”) subsequently found that CPD Officer Lanter violated
Cincinnati Police Department Rule 1.03, CPD Policy1 12.535 “Emergency Operation of Police
Vehicles and Pursuit Driving,” and Rule 1.01(B) for his conduct during the pursuit. Lanter’s
violation of Rule 1.03, which states that “[m]embers shall exercise the responsibility and authority
of the position to which they are assigned in accordance with Department Position
Classification/Job Description, Civil Service Classification Specifications, and work rules,”
alleged that he violated his duties as a Position Classification Patrol Bureau Sergeant, in relation
to his duty to “be responsible to the Relief Commander for the efficient operation of a shift in
conformity with established Department, District and Shift policies and procedures,” and in
relation to violations of the CPD’s pursuit policy. CPD Officer Lanter’s violations of the CPD
pursuit policy included, inter alia, his failure to transmit speeds, driving the wrong way on a one-
way street, and driving more than twenty miles per hour in excess of the speed limit. Lanter’s
violation of Rule 1.01(B) was predicated on the requirement that CPD officers “shall not commit
any acts or omit any acts, which constitute a violation of any of the rules, regulations, procedures,
directives, or orders of the Department,” nor commit “[a] negligent violation which may lead to


1
  The CPD pursuit policy is contained in the CPD’s Department Procedure Manual. All CPD
policies contained in this Manual are available at https://www.cincinnati-oh.gov/police/
department-references/police-department-procedure-manual/.
                                             Page 3 of 5
Case: 2:21-cv-00102-DLB-CJS Doc #: 96-1 Filed: 05/29/24 Page: 20 of 21 - Page ID#:
                                      826



risk of physical injury to another or financial loss to the City,” and again cited to Lanter’s violations
of Policy 12.535.

CPD Officer Thomas was found by CPD’s IIS investigation to have violated Cincinnati Police
Department Rule 1.01(B) for his conduct during the pursuit. Like Lanter, Thomas’ violation of
Rule 1.01(B) was predicated on the requirement that CPD officers “shall not commit any acts or
omit any acts, which constitute a violation of any of the rules, regulations, procedures, directives,
or orders of the Department,” nor commit “[a] negligent violation which may lead to risk of
physical injury to another or financial loss to the City,” citing to Thomas’ violations of CPD Policy
12.535.

During the high-speed pursuit of Defendant Meyer, CPD Sergeant Scalf’s role was as “pursuit
OIC.” According to CPD pursuit policy, after a pursuing officer contacts the ECC, the ECC notifies
“the initiating pursuit unit’s supervisor” and that supervisor “becomes the pursuit OIC.” Like the
policy violations committed by Defendants CPD Officers Lanter and Thomas, discussed above,
Sergeant Scalf’s involvement as pursuit OIC implicated his duties in CPD “routine operations”
and elucidates Scalf’s role as pursuit OIC as a role applicable to all supervisors within the
department “on a department-wide basis” pursuant to CPD Policy 10.000, triggered by CPD’s
Policy 12.535, the pursuit policy. In addition to various duties throughout the pursuit, at the end
of the pursuit, the CPD OIC is required to complete various CPD paperwork (§ D.4.b), to submit
DVR files through the CPD chain of command (§ D.4.c), and assess subordinate violations of CPD
policies and rules. (§ D.4.d). Pursuant to CPD Policy 12.535, the OIC is “responsible for directing
the pursuit until its end.” (§ D.3.a.).

10. Personal Injury/Wrongful death:
Gayle and Raymund experienced the terror and pain of the impending impact and immediate
effects of the crash. Gayle Laible was pronounced dead at the scene. Raymund Laible was
transported to a Cincinnati hospital where he was later pronounced dead.
CPD officers Lanter and Thomas and Sergeant Scalf breached their duty of care to Raymund and
Gayle Laible. As a direct and proximate result of the conduct of CPD officers Lanter and
Thomas, and Sergeant Scalf, Raymund and Gayle Laible suffered physical injuries and mental
anguish and were killed. Jason Laible, as administrator of the Estates of Raymund and Gayle,
claims damages on behalf of the Estates for personal injury and wrongful death, including but
not limited to destruction of power to labor and earn income, suffering and mental anguish,
funeral and burial expenses, and punitive damages. Raymund and Gayle Laible’s family,
including their children Angela Endress and Jason Laible, their grandchildren, and the rest of
their extended family, have suffered and continue to suffer mental anguish as a result of their
loss of Raymund and Gayle.
11. Witnesses:
Witnesses in this matter include but are not limited to:
    1. Maribeth Klein
    2. Steven Klein

                                              Page 4 of 5
Case: 2:21-cv-00102-DLB-CJS Doc #: 96-1 Filed: 05/29/24 Page: 21 of 21 - Page ID#:
                                      827



   3. Jason Laible
   4. Angela Endress
   5. Mason Meyer
   6. Austin Lagory
   7. Sergeant Timothy Lanter
   8. Officer Brett Thomas
   9. Sergeant Donald Scalf
   10. Medical providers and EMS personnel concerning injuries to Raymond and Gayle Laible
       and Steven and Maribeth Klein;
   11. Additional individuals to be identified in the course of discovery of the pending action.




                                          Page 5 of 5
